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                                           AFFIDAVIT

        1.      My name is Jynika Williams and I am a Special Agent with the Federal Bureau of
Investigation (FBI) and has been so employed since February 2015. I have training in the
enforcement of laws of the United States, including training in the preparation, presentation,
service, and execution of criminal complaints and arrest and search warrants. I completed a twenty-
one week training program at the FBI Academy, which included instruction in the investigation of
various criminal offenses governed by federal law, and I have received advanced training in
matters relating to criminal investigations. I am currently assigned to investigate public corruption
and civil rights matters at the FBI Washington Field Office. Additionally, I was tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws.

        2.      The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. This affidavit is intended
to show merely that there is sufficient probable cause for the requested warrant and does not set
forth all of my knowledge about this matter.

        3.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       4.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Michael Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

       5.      As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

       6.      At such time, the certification proceedings were still underway, and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.
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       7.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the
United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

        8.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       9.      In July 2021, the FBI began an investigation into whether GREGORY LAMAR
NIX (“NIX”) was unlawfully present inside the U.S. Capitol building on January 6, 2021. NIX
was recorded inside and outside the Capitol Building on U.S. Capitol security video footage, as
well as on footage posted to a social media outlet. NIX’s presence at the U.S. Capitol was also
confirmed through analysis of records from Google, as described below.

        10.     On July 21, 2021, the subject of an ongoing FBI investigation (“Subject 1”), was
interviewed by me and other investigators. During the interview, Subject 1 identified NIX as an
individual who had briefly entered the U.S. Capitol unlawfully on January 6, 2021. Subject 1
indicated that he/she knew NIX prior to January 6. During the interview, Subject 1 was shown
Capitol Building surveillance footage from inside of the Capitol Building. Subject 1 identified one
of the individuals in the video as NIX. 1 The videos shown to Subject 1 were from between 2:42
and 2:53 PM. The individual identified as NIX was an older white male with gray facial hair and
was wearing a black and neon yellow hooded sweatshirt, as shown in the screenshot below
depicting the interior of the Capitol Building:




1
  I cannot speak to the credibility of Subject 1, beyond stating that Subject 1 minimized his/her own role in the events
of January 6, 2021, and omitted other relevant information known to Subject 1, during this interview. However, the
FBI views Subject 1’s identification of NIX as highly credible for several reasons. First, it is corroborated by NIX’s
appearance in the video screenshots below, which closely match the driver’s license photograph of a GREGORY
LAMAR NIX. Second, NIX’s presence in the U.S. Capitol was later corroborated by cell-site and Google location
data, which indicated that a device using what the FBI believes to be NIX’s phone number and email address was
present in the U.S. Capitol at the same times and approximate locations as the individual in the CCTV footage
described below as NIX. Third, business records from AT&T Corporation show phone calls and text messages
between Subject 1 and the phone number identified as NIX’s (see below) around January 6, 2021. Finally, Subject 1
was not shown the videos below of NIX assaulting police officers, and did not disclose to law enforcement that NIX
had engaged in that misconduct. Thus, Subject 1 may have believed that NIX was not of interest to the FBI at the
time Subject 1 identified NIX.
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       11.     In addition, I reviewed an open-source video that was posted to a website hosted
by ProPublica; the website indicated that the video was purportedly recorded at 4:26 PM on
January 6, 2021. In the video, NIX, wearing what appears to be the same black and neon yellow
hooded sweatshirt seen on the Capitol Building surveillance footage shown to Subject 1, is
standing close to Subject 1. (This footage shows a small “USA” logo or design on the right side
of the chest of the sweatshirt. This logo or design is also visible in the screenshots under
Paragraphs 13, 15, and 17 below.) Cropped screenshots of NIX from that video are below:
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        12.     I have reviewed a driver’s license photograph for a GREGORY LAMAR NIX,
residing in Cleveland, Alabama. The driver’s license photograph appears to depict the same
individual as the person pictured above.

        13.    In early October 2021, a witness (W-1) was interviewed. W-1 stated that W-1 has
known the GREGORY NIX who resides in Cleveland, Alabama for several years. W-1 further
stated that W-1 was aware that NIX had traveled to the U.S. Capitol Building on January 6, 2021,
and that W-1 was upset that NIX had done so. W-1 was shown three photographs of the subject
shown in this complaint with a neon green and black hooded sweatshirt; W-1 identified the
individual in all three photographs as NIX. These are cropped versions of the photographs she
was shown:
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        14.     I have reviewed additional footage of these events, including surveillance video
provided by the U.S. Capitol Police. While reviewing the additional footage from locations inside
and outside the U.S. Capitol Building, I observed the subject identified as NIX outside the East
House Doors. I identified NIX in this surveillance footage based on his clothing, as he is wearing
the same black and neon yellow hooded sweatshirt with what appears to be a small design on the
right chest of the sweatshirt, as well as his facial hair, hair color, and facial features. Specifically,
in one surveillance video, NIX is shown outside of the East House Doors located at the Southeast
side of the Capitol Building. Approximately four minutes into the approximately twelve-minute
video, at what I believe to be approximately 2:21-22 PM ET, NIX is observed attempting to breach
the aforementioned doors by banging the end of a white flagpole repeatedly against the door or its
glass panes. The photo below is a screenshot of NIX standing at the East House Doors taken from
U.S. Capitol Police surveillance video:
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       15.    The photo below is a screenshot taken from U.S. Capitol Police surveillance video
of NIX during his attempt to breach the East House Doors using the flagpole:




       16.     Soon thereafter, approximately six minutes into the video, or at approximately 2:23-
24 PM ET, NIX is observed verbally engaging with U.S. Capitol Police Officers who arrived to
stand guard in front of the East House doors.
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        17.      At approximately ten minutes and twenty-eight seconds into the video, or at
approximately 2:27 PM ET, NIX is observed physically assaulting an identified U.S. Capitol
Police Officer (“Victim 1’) with the white flagpole NIX had in his possession. NIX is observed
whacking Victim 1 with the white flagpole and thrusting and throwing the flagpole at Victim 1.
Based on my review of the video, I believe NIX attempted to physically assault Victim 1 using the
flagpole on seven occasions, with the flagpole contacting Victim 1 approximately two times (with
one occurrence captured by the inserted oval below). During an interview with Victim 1, Victim
1 stated that the flagpole had struck him on the head during one of these assaults, and that, the next
day, he had a knot on his head as a result.




        18.     A few minutes later, at approximately 2:30 PM ET, after the officers depart, NIX
is seen on surveillance footage again appearing to attempt to smash the East House Doors’ glass
panes. NIX first attempts to do so using what appears to be a black baton. This footage was shown
to Victim 1, who during an interview identified the object to be an “ASP” or baton. Although it is
unclear as to how NIX came into possession of the baton, Victim 1 stated that other U.S. Capitol
Police officers had been overrun in that location, and that officers’ gear was likely strewn around
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that area. Victim 1 added that the baton in NIX’s possession appeared to Victim 1 to potentially
differ in size from what is issued to U.S. Capitol Police and therefore may be NIX’s personal baton.
Here is NIX attempting to smash the doors:




       19.    A short time later, after the doors were opened, NIX is observed handing his
backpack to someone else (who is partially off-camera) and entering the U.S. Capitol Building
with what appears to be the black baton.

        20.    According to records obtained through a search warrant which was served on
AT&T, on January 6, 2021, in and around the time of the incident, the cellphone associated with
***-***-4003 was identified as having utilized a cell site consistent with providing service to a
geographic area that included the interior of the U.S. Capitol Building. The phone number was in
the name of “New NTAB, Inc.” not in the name of NIX. A business entity query on the Alabama
Secretary of State’s web site listed NIX as the Director for “New NTAB, Inc.” However, in August
2021, I received information from AT&T in response to legal process that identified a credit card
in the name of NIX as being attached to the AT&T account. AT&T also provided an address for
the phone number’s subscriber account that was listed as NIX’s address in both open-source
records and on NIX’s driver’s license.

        21.     According to records obtained through a search warrant which was served on
Google, a mobile device associated with the Google email address *******tab@gmail.com was
present at the U.S. Capitol on January 6, 2021. Google estimates device location using sources
including GPS data and information about nearby Wi-Fi access points and Bluetooth beacons. This
location data varies in its accuracy, depending on the source(s) of the data. As a result, Google
assigns a “map display radius” for each location data point. Thus, where Google estimates that its
location data is accurate to within 10 meters, Google assigns a “maps display radius” of 10 meters
to the location data point. Finally, Google reports that its “map display radius” reflects the actual
location of the covered device approximately 68% of the time. In this case, Google location data
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shows that a device associated with *******tab@gmail.com was within and outside of the U.S.
Capitol from approximately 2:03PM ET to 4:02PM ET, on January 6, 2021. The location data
indicates that the device was present in the same area where NIX was captured on surveillance
footage—in the southeast corner of the Capitol Building between at least 2:30 PM and 3:11 PM,
approximately.

        22.      The same phone number ***-***-4003 that had been identified by AT&T as having
utilized a cell-site location within the Capitol Building on January 6 was also listed as the recovery
SMS device for the Gmail account *******tab@gmail.com. In addition, the name associated with
the Google account was “Greg Nix,” and the recovery email account was an email account that
included the names “Nix” and “Greg.”

        23.     Based on the foregoing, your affiant submits that there is probable cause to believe
that GREGORY LAMAR NIX violated 18 U.S.C. § 1752(a)(1), (2), and (4), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do so; (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; (4)
knowingly engage in any act of physical violence against any person or property in any restricted
building or grounds; or attempt or conspire to do so. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance. As noted above, NIX was
within a posted, cordoned off, or otherwise restricted area of a building or grounds where the Vice
President was temporarily visiting on January 6, 2021. Your affiant further submits that there is
probable cause to believe that NIX used or carried a deadly or dangerous weapon, specifically a
baton and flagpole, during and in relation to his violations of 18 U.S.C. § 1752(a)(1), (2), and (4),
under 18 U.S.C. § 1752(b)(1)(A).

        24.     Your affiant submits there is also probable cause to believe that GREGORY
LAMAR NIX violated 40 U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress, or (F) engage in an act of physical violence in the Grounds
or any of the Capitol Buildings.

       25.    Your affiant submits there is also probable cause to believe that GREGORY
LAMAR NIX violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to
commit any act to obstruct, impede, or interfere with any fireman or law enforcement officer
lawfully engaged in the lawful performance of his official duties incident to and during the
commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects
commerce or the movement of any article or commodity in commerce or the conduct or
performance of any federally protected function. For purposes of Section 231 of Title 18, a
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federally protected function means any function, operation, or action carried out, under the laws
of the United States, by any department, agency, or instrumentality of the United States or by an
officer or employee thereof. This includes the Joint Session of Congress where the Senate and
House count Electoral College votes.

       26.     Your affiant submits there is also probable cause to believe that GREGORY
LAMAR NIX violated 18 U.S.C. § 1361, by willfully injuring or depredating of any property of
the United States.

         27.    Finally, your affiant submits there is probable cause to believe that GREGORY
LAMAR NIX violated 18 U.S.C. § 111(a)(1) and (b), which makes it a crime to forcibly assault,
resist, oppose, impede, intimidate, or interfere with any person designated in 18 U.S.C. § 1114.
Persons designated within Section 1114 include any person assisting an officer or employee of the
United States in the performance of their official duties. In addition, your affiant submits there is
probable cause to believe that NIX’s violation of Section 111(a)(1) involved physical contact with
the victim of that assault and the intent to commit another felony, and inflicted bodily injury on
the victim under 18 U.S.C. § 111(b). Finally, your affiant submits there is probable cause to
believe that NIX, in the commission of his violation of Section 111(a)(1), used a deadly or
dangerous weapon, specifically a flagpole.


                                                      _________________________________
                                                      JYNIKA WILLIAMS
                                                      SPECIAL AGENT, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 26th day of October, 2021.


                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
